                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA



 UNITED STATES OF AMERICA                         )
                                                  )
                                                  )           Case No. 1:06-CR-140-003
 v.                                               )
                                                  )           Chief Judge Curtis L. Collier
                                                  )
 ITHORNIAL MAFFETT                                )


                                             ORDER

        On April 30, 2007, United States Magistrate Judge William B. Mitchell Carter conducted a

 plea hearing in this case and filed a Report and Recommendation (“R&R”). The R&R recommends

 (1) the Court accept the defendant’s guilty plea as to Count One of the Indictment, to the extent it

 charges the lesser included offense of conspiracy to distribute five hundred (500) grams or more of

 a mixture and substance containing cocaine hydrochloride in violation of 21 U.S.C. §§ 846,

 841(a)(1) and (b)(1)(B); (2) the Court adjudicate the defendant guilty of the charge to which he has

 pleaded; (3) the Court accept the defendant’s plea agreement at the time of sentencing; and (4) the

 defendant be taken into custody pending sentencing (Court File No. 181).

        Neither party has filed objections to the R&R within the given ten (10) days. Therefore, after

 reviewing the record, the Court ACCEPTS and ADOPTS the R&R (Court File No. 181) pursuant

 to 28 U.S.C. § 636(b)(1), and ORDERS as follows:

        (1) The defendant’s guilty plea to the lesser included offense of Count One of the Indictment

 is ACCEPTED;

        (2) The defendant is hereby ADJUDGED guilty of the charge to which he has pleaded;




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       (3) A decision to accept the plea agreement is DEFERRED until sentencing; and

       (4) The defendant IS TAKEN INTO CUSTODY until sentencing. Sentencing is set for

 Thursday, August 9, 2007, at 2:00 p.m.



       SO ORDERED.

       ENTER:

                                          /s/
                                          CURTIS L. COLLIER
                                          CHIEF UNITED STATES DISTRICT JUDGE




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